       4:19-cv-00451-RBH         Date Filed 02/15/19       Entry Number 1      Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                FLORENCE DIVISION

 Wendy Hall-Brown,                            )       CASE NO. 4:19-cv-__________________
                                              )
                Plaintiff,                    )
                                              )
  v.                                          )              NOTICE OF REMOVAL
                                              )              TO FEDERAL COURT
 Vereen’s Stores, Inc., &                     )
 Frankie J. Vereen,                           )
                                              )
                Defendants.                   )
                                              )

       The removing Defendants, Vereen’s Stores, Inc., & Frankie J. Vereen, by and through their

undersigned counsel, hereby remove Civil Action Number 2018-CP-26-07163 from the Court of

Common Pleas for the Fifteenth Judicial Circuit to the United States District Court for the District

of South Carolina, Florence Division, pursuant to 28 U.S.C. §§1441 and 1446.

       The following facts show that this case is properly removed to this Court:

       1.      Plaintiff filed an action styled Wendy Hall-Brown v. Vereen’s Stores, Inc., &

Frankie J. Vereen, Civil Action Number 2018-CP-26-07163, in the Court of Common Pleas for

the Fifteenth Judicial Circuit on December 18, 2018. Defendant was served with the Summons

and Complaint on January 17, 2019. Pursuant to 28 U.S.C. §1446(a), attached as Exhibit A to

this Notice of Removal are copies of the Summons and Complaint.

       2.      The Complaint purports to assert causes of action for violation of the Fair Labor

Standards Act, 29 U.S.C. § 201, et seq., wrongful termination, and intentional infliction of

emotional distress as the basis for the legal claims against Defendants.

       3.      This court has original jurisdiction over this case pursuant to 28 U.S.C. §1331

(federal question) and pendent jurisdiction over the State law causes of action pursuant to 28




                                                  1
       4:19-cv-00451-RBH         Date Filed 02/15/19      Entry Number 1        Page 2 of 3




U.S.C. §1367. This action may be removed to this court by Defendants pursuant to 28 U.S.C.A.

§§1441 and 1446.

       4.      This Notice of Removal is timely, in accordance with 28 U.S.C. §1446(b)(1), as it

is filed within thirty (30) days after the Defendants were served with the Complaint. See Murphy

Brothers v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 345 (1999) (if the Complaint is filed before

the Summons is served, the thirty day removal period begins to run from the date of service).

       5.      As of the date of this Notice of Removal, Defendants have not filed a responsive

pleading to the Complaint as such responsive pleading is not yet due.

       6.      Defendants hereby reserve any and all rights to assert any and all defenses and/or

objections to the Complaint, including, but not limited to defenses and/or objections, if any, as to

any Rule 12(b) defenses. Defendants further reserve the right to amend or supplement this Notice

of Removal.

       7.      Pursuant to 28 U.S.C. §1441(a), removal to the District of South Carolina, Florence

Division is proper because the original action was filed within this District and Division.

       8.      Pursuant to 28 U.S.C. §1446(d), this Notice of Removal was served upon Plaintiff

and is simultaneously being filed with the Clerk of Court of Common Pleas for Horry County,

South Carolina, Fifteenth Judicial Circuit. The giving of such notice will effectuate removal.

       WHEREFORE, Defendants pray that the above referenced action now pending in the

Horry County Court of Common Pleas, Fifteenth Judicial Circuit, Civil Action Number 2018-CP-

26-07163, be removed in its entirety to this Court, as provided by law, and pursuant to 28 U.S.C.A.

§1446(d), that the Horry County Court of Common Pleas proceed no further unless and until the

case is remanded.

                              [Signature Block on Following Page]




                                                 2
      4:19-cv-00451-RBH        Date Filed 02/15/19   Entry Number 1     Page 3 of 3




                                                BURR & FORMAN LLP

                                                 s/James K. Gilliam
                                                James K. Gilliam, Fed ID #10761
                                                2411 N. Oak Street, Suite 206 (29577)
                                                Post Office Box 336
                                                Myrtle Beach, SC 29578-0336
                                                Ph:    843.444.1107
                                                Fax: 843.443.9137
                                                Email: jgilliam@burr.com
                                                Attorney for the Defendants

Myrtle Beach, South Carolina

February 15, 2019




                                            3
